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UNITED STATES DISTRICT COURT                                                                      12/28/20
SOUTHERN DISTRICT OF NEW YORK


  United States of America,

                 –v–
                                                                     20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                          ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       On December 8, 2020, Defendant Ghislaine Maxwell filed a renewed motion for release

on bail. Dkt No. 97. In an Opinion and Order concurrently filed under temporary seal, the Court

DENIES the Defendant’s motion.

       In light of the fact that the Opinion includes potentially confidential information that

should not be filed on the public docket, the Court will permit the parties 48 hours to propose

any redactions to the Court’s Opinion and Order and to justify those redactions by reference to

the Second Circuit’s decision in Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110(2d Cir.

2006). After determining which, if any, portions of the Opinion and Order should be redacted,

the Court will file the Opinion and Order on the public docket.

       This Order provides the bottom line of the Court’s resolution. On July 14, 2020, this

Court conducted an extensive bail hearing and determined that pre-trial detention was warranted

because the no conditions or set of conditions could reasonably assure the Defendant’s

appearance at future proceedings. Under 18 U.S.C. § 3142(f), a bail hearing may be reopened if

the Court finds “that information exists that was not known to the movant at the time of the

hearing and that has a material bearing on the issue whether there are conditions of release that

will reasonably assure the appearance of such person as required.” The Court concludes that


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none of the new information that the Defendant presented in support of her application has a

material bearing on the Court’s determination that she poses a flight risk.

       Furthermore, for substantially the same reasons as the Court determined that detention

was warranted in the initial bail hearing, the Court again concludes that no conditions of release

can reasonably assure the Defendant’s appearance at future proceedings. In reaching that

conclusion, the Court considers the nature and circumstances of the offenses charged, the weight

of the evidence against the Defendant, the history and characteristics of the Defendant, and the

nature and seriousness of the danger that the Defendant’s release would pose. See 18 U.S.C. §

3142(g). The Government does not contend that the Defendant poses a danger to the

community. Nonetheless the Court determines that the other three factors warrant detention

under 18 U.S.C. § 3142(e). The Court also finds that the Defendant’s proposed bail conditions

would not reasonably assure her appearance at future proceedings.

       As a result, the Court concludes that the Government has met its burden of persuasion

that the Defendant poses a flight risk and that pre-trial detention continues to be warranted.

       On or before December 30, 2020, the parties are ORDERED to submit a joint letter

indicating whether they propose any redactions and the justification for any such proposal.

       This resolves Dkt No. 97.

       SO ORDERED.

Dated: December 28, 2020                             __________________________________
       New York, New York                                    ALISON J. NATHAN
                                                           United States District Judge




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